Transaction Applied Date    Due Date   Description           Transaction Type/Code   Amount Principal Paid Interest Paid
                  11/1/2018 9/12/2018 Funds Received         1 72                     $10.80          $0.00         $0.00
                  11/1/2018 9/12/2018 Funds Applied          1 72                      $0.00          $0.00       $10.80
                  11/1/2018 10/12/2018 Funds Received        1 72                    $126.35          $0.00         $0.00
                  11/1/2018 10/12/2018 Funds Applied         1 72                      $0.00        $54.11        $72.24
                  11/1/2018 11/12/2018 Funds Received        1 72                     $62.85          $0.00         $0.00
                  11/1/2018 11/12/2018 Funds Applied         1 72                      $0.00          $0.00       $62.85
                11/23/2018 11/12/2018 Late Charge Incurred   1 52                      $0.00          $0.00         $0.00
                11/30/2018 11/12/2018 Funds Received         1 72                     $63.50          $0.00         $0.00
                11/30/2018 11/12/2018 Funds Applied          1 72                      $0.00        $43.50        $20.00
                11/30/2018 12/12/2018 Funds Received         1 72                     $36.50          $0.00         $0.00
                11/30/2018 12/12/2018 Funds Applied          1 72                      $0.00          $0.00       $36.50
                11/30/2018 12/12/2018 Funds Received         1 72                     $89.85          $0.00         $0.00
                11/30/2018 12/12/2018 Funds Applied          1 72                      $0.00        $43.71        $46.14
                11/30/2018 1/12/2019 Funds Received          1 72                     $10.15          $0.00         $0.00
                12/31/2018 1/12/2019 Funds Received          1 72                    $100.00          $0.00         $0.00
                12/31/2018 1/12/2019 Funds Applied           1 72                      $0.00        $17.69        $82.31
                  1/22/2019 1/12/2019 Late Charge Incurred   1 52                      $0.00          $0.00         $0.00
                   2/1/2019 1/12/2019 Funds Received         1 72                     $26.35          $0.00         $0.00
                   2/1/2019 1/12/2019 Funds Applied          1 72                      $0.00        $26.35          $0.00
                   2/1/2019 2/12/2019 Funds Received         1 72                     $73.65          $0.00         $0.00
                   2/1/2019 2/12/2019 Funds Applied          1 72                      $0.00          $0.00       $73.65
                  2/22/2019 2/12/2019 Late Charge Incurred   1 52                      $0.00          $0.00         $0.00
                  2/28/2019 2/12/2019 Late Charge Paid       1 32                      $0.00          $0.00         $0.00
                   3/1/2019 2/12/2019 Funds Received         1 73                      $7.00          $0.00         $0.00
                   3/1/2019 2/12/2019 Funds Received         1 73                     $52.70          $0.00         $0.00
                   3/1/2019 2/12/2019 Funds Applied          1 73                      $0.00        $44.28          $8.42
                   3/1/2019 3/12/2019 Funds Received         1 73                    $126.35          $0.00         $0.00
                   3/1/2019 3/12/2019 Funds Applied          1 73                      $0.00        $44.38        $81.97
                   3/4/2019 4/12/2019 Funds Received         1 72                    $100.00          $0.00         $0.00
                  4/22/2019 4/12/2019 Late Charge Incurred   1 52                      $0.00          $0.00         $0.00
                  4/24/2019 4/12/2019 Funds Received         1 72                    $126.35          $0.00         $0.00
                  4/24/2019 4/12/2019 Funds Applied          1 72                      $0.00        $44.67        $81.68
                   5/2/2019 5/12/2019 Funds Received         1 72                    $100.00          $0.00         $0.00
  5/2/2019 5/12/2019 Funds Applied           1 72     $0.00   $18.51   $81.49
 5/22/2019 5/12/2019 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
 5/31/2019 5/12/2019 Funds Received          1 72    $26.35    $0.00    $0.00
 5/31/2019 5/12/2019 Funds Applied           1 72     $0.00   $26.35    $0.00
 5/31/2019 6/12/2019 Funds Received          1 72    $73.65    $0.00    $0.00
 5/31/2019 6/12/2019 Funds Applied           1 72     $0.00    $0.00   $73.65
 6/24/2019 6/12/2019 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
 7/22/2019 6/12/2019 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
  8/8/2019 6/12/2019 Funds Received          1 73    $52.70    $0.00    $0.00
  8/8/2019 6/12/2019 Funds Applied           1 73     $0.00    $0.00   $52.70
  8/8/2019 7/12/2019 Funds Received          1 73   $126.35    $0.00    $0.00
  8/8/2019 7/12/2019 Funds Applied           1 73     $0.00   $90.26   $36.09
 8/22/2019 8/12/2019 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
  9/3/2019 8/12/2019 Funds Received          1 72   $126.35    $0.00    $0.00
  9/3/2019 8/12/2019 Funds Applied           1 72     $0.00   $45.28   $81.07
  9/3/2019 9/12/2019 Funds Received          1 72     $3.65    $0.00    $0.00
  9/3/2019 9/12/2019 Funds Applied           1 72     $0.00    $0.00    $3.65
 9/23/2019 9/12/2019 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
 10/1/2019 9/12/2019 Funds Received          1 72   $122.70    $0.00    $0.00
 10/1/2019 9/12/2019 Funds Applied           1 72     $0.00   $45.39   $77.31
 10/1/2019 10/12/2019 Funds Received         1 72     $7.30    $0.00    $0.00
 10/1/2019 10/12/2019 Funds Applied          1 72     $0.00    $0.00    $7.30
10/22/2019 10/12/2019 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
 11/1/2019 10/12/2019 Funds Received         1 72   $119.05    $0.00    $0.00
 11/1/2019 10/12/2019 Funds Applied          1 72     $0.00   $45.79   $73.26
 11/1/2019 11/12/2019 Funds Received         1 72    $10.95    $0.00    $0.00
 11/1/2019 11/12/2019 Funds Applied          1 72     $0.00    $0.00   $10.95
11/22/2019 11/12/2019 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
11/29/2019 11/12/2019 Funds Received         1 72   $115.40    $0.00    $0.00
11/29/2019 11/12/2019 Funds Applied          1 72     $0.00   $46.01   $69.39
11/29/2019 12/12/2019 Funds Received         1 72    $14.60    $0.00    $0.00
11/29/2019 12/12/2019 Funds Applied          1 72     $0.00    $0.00   $14.60
12/23/2019 12/12/2019 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
12/31/2019 12/12/2019 Funds Received         1 72   $111.75    $0.00    $0.00
12/31/2019 12/12/2019 Funds Applied         1 72     $0.00   $46.23   $65.52
12/31/2019 1/12/2020 Funds Received         1 72    $18.25    $0.00    $0.00
12/31/2019 1/12/2020 Funds Applied          1 72     $0.00    $0.00   $18.25
 1/22/2020 1/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
 1/31/2020 1/12/2020 Funds Received         1 72   $108.10    $0.00    $0.00
 1/31/2020 1/12/2020 Funds Applied          1 72     $0.00   $46.46   $61.64
 1/31/2020 2/12/2020 Funds Received         1 72    $21.90    $0.00    $0.00
 1/31/2020 2/12/2020 Funds Applied          1 72     $0.00    $0.00   $21.90
 2/24/2020 2/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
  3/3/2020 2/12/2020 Funds Received         1 72   $104.45    $0.00    $0.00
  3/3/2020 2/12/2020 Funds Applied          1 72     $0.00   $46.66   $57.79
  3/3/2020 3/12/2020 Funds Received         1 72    $25.55    $0.00    $0.00
  3/3/2020 3/12/2020 Funds Applied          1 72     $0.00    $0.00   $25.55
 3/23/2020 3/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
  4/1/2020 3/12/2020 Funds Received         1 72   $100.80    $0.00    $0.00
  4/1/2020 3/12/2020 Funds Applied          1 72     $0.00   $46.86   $53.94
  4/1/2020 4/12/2020 Funds Received         1 72    $29.20    $0.00    $0.00
  4/1/2020 4/12/2020 Funds Applied          1 72     $0.00    $0.00   $29.20
 4/22/2020 4/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
  5/1/2020 4/12/2020 Funds Received         1 72    $97.15    $0.00    $0.00
  5/1/2020 4/12/2020 Funds Applied          1 72     $0.00   $47.08   $50.07
  5/1/2020 5/12/2020 Funds Received         1 72    $32.85    $0.00    $0.00
  5/1/2020 5/12/2020 Funds Applied          1 72     $0.00    $0.00   $32.85
 5/22/2020 5/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
  6/1/2020 5/12/2020 Funds Received         1 72    $93.50    $0.00    $0.00
  6/1/2020 5/12/2020 Funds Applied          1 72     $0.00   $47.32   $46.18
  6/1/2020 6/12/2020 Funds Received         1 72    $36.50    $0.00    $0.00
  6/1/2020 6/12/2020 Funds Applied          1 72     $0.00    $0.00   $36.50
 6/22/2020 6/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
  7/1/2020 6/12/2020 Funds Received         1 72    $89.85    $0.00    $0.00
  7/1/2020 6/12/2020 Funds Applied          1 72     $0.00   $47.54   $42.31
  7/1/2020 7/12/2020 Funds Received         1 72    $40.15    $0.00    $0.00
  7/1/2020 7/12/2020 Funds Applied          1 72     $0.00    $0.00   $40.15
 7/22/2020 7/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
 7/31/2020 7/12/2020 Funds Received          1 72    $86.20    $0.00    $0.00
 7/31/2020 7/12/2020 Funds Applied           1 72     $0.00   $47.76   $38.44
 7/31/2020 8/12/2020 Funds Received          1 72    $43.80    $0.00    $0.00
 7/31/2020 8/12/2020 Funds Applied           1 72     $0.00    $0.00   $43.80
 8/24/2020 8/12/2020 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
  9/1/2020 8/12/2020 Funds Received          1 72    $82.55    $0.00    $0.00
  9/1/2020 8/12/2020 Funds Applied           1 72     $0.00   $47.98   $34.57
  9/1/2020 9/12/2020 Funds Received          1 72    $47.45    $0.00    $0.00
  9/1/2020 9/12/2020 Funds Applied           1 72     $0.00    $0.00   $47.45
 9/22/2020 9/12/2020 Late Charge Incurred    1 52     $0.00    $0.00    $0.00
 10/1/2020 9/12/2020 Funds Received          1 72    $78.90    $0.00    $0.00
 10/1/2020 9/12/2020 Funds Applied           1 72     $0.00   $48.20   $30.70
 10/1/2020 10/12/2020 Funds Received         1 72    $51.10    $0.00    $0.00
 10/1/2020 10/12/2020 Funds Applied          1 72     $0.00    $0.00   $51.10
10/22/2020 10/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
10/30/2020 10/12/2020 Funds Received         1 72    $75.25    $0.00    $0.00
10/30/2020 10/12/2020 Funds Applied          1 72     $0.00   $48.43   $26.82
10/30/2020 11/12/2020 Funds Received         1 72    $84.75    $0.00    $0.00
10/30/2020 11/12/2020 Funds Applied          1 72     $0.00    $7.06   $77.69
11/23/2020 11/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
 12/3/2020 11/12/2020 Funds Received         1 72    $41.60    $0.00    $0.00
 12/3/2020 11/12/2020 Funds Applied          1 72     $0.00   $41.60    $0.00
 12/3/2020 12/12/2020 Funds Received         1 72   $118.40    $0.00    $0.00
 12/3/2020 12/12/2020 Funds Applied          1 72     $0.00   $40.95   $77.45
12/22/2020 12/12/2020 Late Charge Incurred   1 52     $0.00    $0.00    $0.00
12/31/2020 12/12/2020 Funds Received         1 72     $7.95    $0.00    $0.00
12/31/2020 12/12/2020 Funds Applied          1 72     $0.00    $7.95    $0.00
12/31/2020 1/12/2021 Funds Received          1 72   $126.35    $0.00    $0.00
12/31/2020 1/12/2021 Funds Applied           1 72     $0.00   $49.19   $77.16
12/31/2020 2/12/2021 Funds Received          1 72    $25.70    $0.00    $0.00
  2/1/2021 2/12/2021 Funds Received          1 72   $126.35    $0.00    $0.00
  2/1/2021 2/12/2021 Funds Applied           1 72     $0.00   $49.55   $76.80
  2/1/2021 3/12/2021 Funds Received          1 72    $33.65    $0.00    $0.00
  3/1/2021 3/12/2021 Funds Received          1 72   $126.35    $0.00    $0.00
  3/1/2021 3/12/2021 Funds Applied     1 72     $0.00   $49.79   $76.56
  3/1/2021 4/12/2021 Funds Received    1 72    $33.65    $0.00    $0.00
  4/1/2021 4/12/2021 Funds Received    1 72   $126.35    $0.00    $0.00
  4/1/2021 4/12/2021 Funds Applied     1 72     $0.00   $50.04   $76.31
  4/1/2021 5/12/2021 Funds Received    1 72    $33.65    $0.00    $0.00
 4/30/2021 5/12/2021 Funds Received    1 72   $126.35    $0.00    $0.00
 4/30/2021 5/12/2021 Funds Applied     1 72     $0.00   $50.27   $76.08
 4/30/2021 6/12/2021 Funds Received    1 72    $33.65    $0.00    $0.00
  6/1/2021 6/12/2021 Funds Received    1 72   $126.35    $0.00    $0.00
  6/1/2021 6/12/2021 Funds Applied     1 72     $0.00   $50.51   $75.84
  6/1/2021 7/12/2021 Funds Received    1 72    $33.65    $0.00    $0.00
  7/1/2021 7/12/2021 Funds Received    1 72   $126.35    $0.00    $0.00
  7/1/2021 7/12/2021 Funds Applied     1 72     $0.00   $50.73   $75.62
  7/1/2021 8/12/2021 Funds Received    1 72    $33.65    $0.00    $0.00
 7/30/2021 8/12/2021 Funds Received    1 72   $126.35    $0.00    $0.00
 7/30/2021 8/12/2021 Funds Applied     1 72     $0.00   $50.98   $75.37
 7/30/2021 9/12/2021 Funds Received    1 72    $33.65    $0.00    $0.00
  9/1/2021 9/12/2021 Funds Received    1 72   $126.35    $0.00    $0.00
  9/1/2021 9/12/2021 Funds Applied     1 72     $0.00   $51.21   $75.14
  9/1/2021 10/12/2021 Funds Received   1 72    $33.65    $0.00    $0.00
 10/1/2021 10/12/2021 Funds Received   1 72   $126.35    $0.00    $0.00
 10/1/2021 10/12/2021 Funds Applied    1 72     $0.00   $51.45   $74.90
 10/1/2021 11/12/2021 Funds Received   1 72    $33.65    $0.00    $0.00
 11/1/2021 11/12/2021 Funds Received   1 72   $126.35    $0.00    $0.00
 11/1/2021 11/12/2021 Funds Applied    1 72     $0.00   $51.70   $74.65
 11/1/2021 12/12/2021 Funds Received   1 72    $33.65    $0.00    $0.00
 12/1/2021 12/12/2021 Funds Received   1 72   $126.35    $0.00    $0.00
 12/1/2021 12/12/2021 Funds Applied    1 72     $0.00   $51.94   $74.41
 12/1/2021 1/12/2022 Funds Received    1 72    $33.65    $0.00    $0.00
12/31/2021 1/12/2022 Funds Received    1 72   $126.35    $0.00    $0.00
12/31/2021 1/12/2022 Funds Applied     1 72     $0.00   $52.18   $74.17
12/31/2021 2/12/2022 Funds Received    1 72    $33.65    $0.00    $0.00
  2/1/2022 2/12/2022 Funds Received    1 72   $126.35    $0.00    $0.00
  2/1/2022 2/12/2022 Funds Applied     1 72     $0.00   $52.43   $73.92
 2/1/2022 3/12/2022 Funds Received    1 72    $33.65    $0.00    $0.00
 3/1/2022 3/12/2022 Funds Received    1 72   $126.35    $0.00    $0.00
 3/1/2022 3/12/2022 Funds Applied     1 72     $0.00   $52.67   $73.68
 3/1/2022 4/12/2022 Funds Received    1 72    $33.65    $0.00    $0.00
 4/1/2022 4/12/2022 Funds Received    1 72   $126.35    $0.00    $0.00
 4/1/2022 4/12/2022 Funds Applied     1 72     $0.00   $52.93   $73.42
 4/1/2022 5/12/2022 Funds Received    1 72    $33.65    $0.00    $0.00
4/29/2022 5/12/2022 Funds Received    1 72   $160.00    $0.00    $0.00
 5/3/2022 5/12/2022 Funds Applied     1 73     $0.00    $0.00    $0.00
 5/3/2022 5/12/2022 Funds Applied     1 73     $0.00   $53.16   $73.19
 5/3/2022 6/12/2022 Funds Applied     1 75     $0.00   $33.65    $0.00
 6/1/2022 6/12/2022 Funds Received    1 72   $160.00    $0.00    $0.00
 6/2/2022 6/12/2022 Funds Applied     1 73     $0.00    $0.00    $0.00
 6/2/2022 6/12/2022 Funds Applied     1 73     $0.00   $53.51   $72.84
 6/2/2022 7/12/2022 Funds Applied     1 75     $0.00   $33.65    $0.00
 7/1/2022 7/12/2022 Funds Received    1 72   $160.00    $0.00    $0.00
 7/5/2022 7/12/2022 Funds Applied     1 73     $0.00    $0.00    $0.00
 7/5/2022 7/12/2022 Funds Applied     1 73     $0.00   $53.88   $72.47
 7/5/2022 8/12/2022 Funds Applied     1 75     $0.00   $33.65    $0.00
 8/1/2022 8/12/2022 Funds Received    1 72   $160.00    $0.00    $0.00
 8/2/2022 8/12/2022 Funds Applied     1 73     $0.00    $0.00    $0.00
 8/2/2022 8/12/2022 Funds Applied     1 73     $0.00   $54.31   $72.04
 8/2/2022 9/12/2022 Funds Applied     1 75     $0.00   $33.65    $0.00
 9/1/2022 9/12/2022 Funds Received    1 72   $160.00    $0.00    $0.00
 9/2/2022 9/12/2022 Funds Applied     1 73     $0.00    $0.00    $0.00
 9/2/2022 9/12/2022 Funds Applied     1 73     $0.00   $54.72   $71.63
 9/2/2022 10/12/2022 Funds Applied    1 75     $0.00   $33.65    $0.00
9/30/2022 10/12/2022 Funds Received   1 72   $160.00    $0.00    $0.00
10/3/2022 10/12/2022 Funds Applied    1 73     $0.00    $0.00    $0.00
10/3/2022 10/12/2022 Funds Applied    1 73     $0.00   $55.13   $71.22
10/3/2022 11/12/2022 Funds Applied    1 75     $0.00   $33.65    $0.00
Escrow Paid Late Charge Fee Code   Late Charge Amt. Suspense Balance Principal Balance 1st Unpaid Prin. Balance
      $0.00                                    $0.00             $0.00      $17,658.23                $17,658.23
      $0.00                                    $0.00             $0.00      $17,658.23                $17,658.23
      $0.00                                    $0.00             $0.00      $17,658.23                $17,658.23
      $0.00                                    $0.00             $0.00      $17,604.12                $17,604.12
      $0.00                                    $0.00             $0.00      $17,604.12                $17,604.12
      $0.00                                    $0.00             $0.00      $17,604.12                $17,604.12
      $0.00                      1           ($40.00)            $0.00      $17,604.12                $17,604.12
      $0.00                                    $0.00             $0.00      $17,604.12                $17,604.12
      $0.00                                    $0.00             $0.00      $17,560.62                $17,560.62
      $0.00                                    $0.00             $0.00      $17,560.62                $17,560.62
      $0.00                                    $0.00             $0.00      $17,560.62                $17,560.62
      $0.00                                    $0.00             $0.00      $17,560.62                $17,560.62
      $0.00                                    $0.00             $0.00      $17,516.91                $17,516.91
      $0.00                      1            $10.15             $0.00      $17,516.91                $17,516.91
      $0.00                                    $0.00             $0.00      $17,516.91                $17,516.91
      $0.00                                    $0.00             $0.00      $17,499.22                $17,499.22
      $0.00                      1           ($40.00)            $0.00      $17,499.22                $17,499.22
      $0.00                                    $0.00             $0.00      $17,499.22                $17,499.22
      $0.00                                    $0.00             $0.00      $17,472.87                $17,472.87
      $0.00                                    $0.00             $0.00      $17,472.87                $17,472.87
      $0.00                                    $0.00             $0.00      $17,472.87                $17,472.87
      $0.00                      1           ($40.00)            $0.00      $17,472.87                $17,472.87
      $0.00 A                                 $40.00             $0.00      $17,472.87                $17,472.87
      $0.00 S                                  $7.00             $0.00      $17,472.87                $17,472.87
      $0.00                                    $0.00             $0.00      $17,472.87                $17,472.87
      $0.00                                    $0.00             $0.00      $17,428.59                $17,428.59
      $0.00                                    $0.00             $0.00      $17,428.59                $17,428.59
      $0.00                                    $0.00             $0.00      $17,384.21                $17,384.21
      $0.00                      1           $100.00             $0.00      $17,384.21                $17,384.21
      $0.00                      1           ($40.00)            $0.00      $17,384.21                $17,384.21
      $0.00                                    $0.00             $0.00      $17,384.21                $17,384.21
      $0.00                                    $0.00             $0.00      $17,339.54                $17,339.54
      $0.00                                    $0.00             $0.00      $17,339.54                $17,339.54
$0.00         $0.00    $0.00   $17,321.03   $17,321.03
$0.00   1   ($40.00)   $0.00   $17,321.03   $17,321.03
$0.00         $0.00    $0.00   $17,321.03   $17,321.03
$0.00         $0.00    $0.00   $17,294.68   $17,294.68
$0.00         $0.00    $0.00   $17,294.68   $17,294.68
$0.00         $0.00    $0.00   $17,294.68   $17,294.68
$0.00   1   ($40.00)   $0.00   $17,294.68   $17,294.68
$0.00   1   ($40.00)   $0.00   $17,294.68   $17,294.68
$0.00         $0.00    $0.00   $17,294.68   $17,294.68
$0.00         $0.00    $0.00   $17,294.68   $17,294.68
$0.00         $0.00    $0.00   $17,294.68   $17,294.68
$0.00         $0.00    $0.00   $17,204.42   $17,204.42
$0.00   1   ($40.00)   $0.00   $17,204.42   $17,204.42
$0.00         $0.00    $0.00   $17,204.42   $17,204.42
$0.00         $0.00    $0.00   $17,159.14   $17,159.14
$0.00         $0.00    $0.00   $17,159.14   $17,159.14
$0.00         $0.00    $0.00   $17,159.14   $17,159.14
$0.00   1   ($40.00)   $0.00   $17,159.14   $17,159.14
$0.00         $0.00    $0.00   $17,159.14   $17,159.14
$0.00         $0.00    $0.00   $17,113.75   $17,113.75
$0.00         $0.00    $0.00   $17,113.75   $17,113.75
$0.00         $0.00    $0.00   $17,113.75   $17,113.75
$0.00   1   ($40.00)   $0.00   $17,113.75   $17,113.75
$0.00         $0.00    $0.00   $17,113.75   $17,113.75
$0.00         $0.00    $0.00   $17,067.96   $17,067.96
$0.00         $0.00    $0.00   $17,067.96   $17,067.96
$0.00         $0.00    $0.00   $17,067.96   $17,067.96
$0.00   1   ($40.00)   $0.00   $17,067.96   $17,067.96
$0.00         $0.00    $0.00   $17,067.96   $17,067.96
$0.00         $0.00    $0.00   $17,021.95   $17,021.95
$0.00         $0.00    $0.00   $17,021.95   $17,021.95
$0.00         $0.00    $0.00   $17,021.95   $17,021.95
$0.00   1   ($40.00)   $0.00   $17,021.95   $17,021.95
$0.00         $0.00    $0.00   $17,021.95   $17,021.95
$0.00         $0.00    $0.00   $16,975.72   $16,975.72
$0.00         $0.00    $0.00   $16,975.72   $16,975.72
$0.00         $0.00    $0.00   $16,975.72   $16,975.72
$0.00   1   ($40.00)   $0.00   $16,975.72   $16,975.72
$0.00         $0.00    $0.00   $16,975.72   $16,975.72
$0.00         $0.00    $0.00   $16,929.26   $16,929.26
$0.00         $0.00    $0.00   $16,929.26   $16,929.26
$0.00         $0.00    $0.00   $16,929.26   $16,929.26
$0.00   1   ($40.00)   $0.00   $16,929.26   $16,929.26
$0.00         $0.00    $0.00   $16,929.26   $16,929.26
$0.00         $0.00    $0.00   $16,882.60   $16,882.60
$0.00         $0.00    $0.00   $16,882.60   $16,882.60
$0.00         $0.00    $0.00   $16,882.60   $16,882.60
$0.00   1   ($40.00)   $0.00   $16,882.60   $16,882.60
$0.00         $0.00    $0.00   $16,882.60   $16,882.60
$0.00         $0.00    $0.00   $16,835.74   $16,835.74
$0.00         $0.00    $0.00   $16,835.74   $16,835.74
$0.00         $0.00    $0.00   $16,835.74   $16,835.74
$0.00   1   ($40.00)   $0.00   $16,835.74   $16,835.74
$0.00         $0.00    $0.00   $16,835.74   $16,835.74
$0.00         $0.00    $0.00   $16,788.66   $16,788.66
$0.00         $0.00    $0.00   $16,788.66   $16,788.66
$0.00         $0.00    $0.00   $16,788.66   $16,788.66
$0.00   1   ($40.00)   $0.00   $16,788.66   $16,788.66
$0.00         $0.00    $0.00   $16,788.66   $16,788.66
$0.00         $0.00    $0.00   $16,741.34   $16,741.34
$0.00         $0.00    $0.00   $16,741.34   $16,741.34
$0.00         $0.00    $0.00   $16,741.34   $16,741.34
$0.00   1   ($40.00)   $0.00   $16,741.34   $16,741.34
$0.00         $0.00    $0.00   $16,741.34   $16,741.34
$0.00         $0.00    $0.00   $16,693.80   $16,693.80
$0.00         $0.00    $0.00   $16,693.80   $16,693.80
$0.00         $0.00    $0.00   $16,693.80   $16,693.80
$0.00   1   ($40.00)   $0.00   $16,693.80   $16,693.80
$0.00         $0.00    $0.00   $16,693.80   $16,693.80
$0.00         $0.00    $0.00   $16,646.04   $16,646.04
$0.00         $0.00    $0.00   $16,646.04   $16,646.04
$0.00         $0.00    $0.00   $16,646.04   $16,646.04
$0.00   1   ($40.00)   $0.00   $16,646.04   $16,646.04
$0.00         $0.00    $0.00   $16,646.04   $16,646.04
$0.00         $0.00    $0.00   $16,598.06   $16,598.06
$0.00         $0.00    $0.00   $16,598.06   $16,598.06
$0.00         $0.00    $0.00   $16,598.06   $16,598.06
$0.00   1   ($40.00)   $0.00   $16,598.06   $16,598.06
$0.00         $0.00    $0.00   $16,598.06   $16,598.06
$0.00         $0.00    $0.00   $16,549.86   $16,549.86
$0.00         $0.00    $0.00   $16,549.86   $16,549.86
$0.00         $0.00    $0.00   $16,549.86   $16,549.86
$0.00   1   ($40.00)   $0.00   $16,549.86   $16,549.86
$0.00         $0.00    $0.00   $16,549.86   $16,549.86
$0.00         $0.00    $0.00   $16,501.43   $16,501.43
$0.00         $0.00    $0.00   $16,501.43   $16,501.43
$0.00         $0.00    $0.00   $16,494.37   $16,494.37
$0.00   1   ($40.00)   $0.00   $16,494.37   $16,494.37
$0.00         $0.00    $0.00   $16,494.37   $16,494.37
$0.00         $0.00    $0.00   $16,452.77   $16,452.77
$0.00         $0.00    $0.00   $16,452.77   $16,452.77
$0.00         $0.00    $0.00   $16,411.82   $16,411.82
$0.00   1   ($40.00)   $0.00   $16,411.82   $16,411.82
$0.00         $0.00    $0.00   $16,411.82   $16,411.82
$0.00         $0.00    $0.00   $16,403.87   $16,403.87
$0.00         $0.00    $0.00   $16,403.87   $16,403.87
$0.00         $0.00    $0.00   $16,354.68   $16,354.68
$0.00   1    $25.70    $0.00   $16,354.68   $16,354.68
$0.00         $0.00    $0.00   $16,354.68   $16,354.68
$0.00         $0.00    $0.00   $16,305.13   $16,305.13
$0.00   1    $33.65    $0.00   $16,305.13   $16,305.13
$0.00         $0.00    $0.00   $16,305.13   $16,305.13
$0.00        $0.00   $0.00   $16,255.34   $16,255.34
$0.00   1   $33.65   $0.00   $16,255.34   $16,255.34
$0.00        $0.00   $0.00   $16,255.34   $16,255.34
$0.00        $0.00   $0.00   $16,205.30   $16,205.30
$0.00   1   $33.65   $0.00   $16,205.30   $16,205.30
$0.00        $0.00   $0.00   $16,205.30   $16,205.30
$0.00        $0.00   $0.00   $16,155.03   $16,155.03
$0.00   1   $33.65   $0.00   $16,155.03   $16,155.03
$0.00        $0.00   $0.00   $16,155.03   $16,155.03
$0.00        $0.00   $0.00   $16,104.52   $16,104.52
$0.00   1   $33.65   $0.00   $16,104.52   $16,104.52
$0.00        $0.00   $0.00   $16,104.52   $16,104.52
$0.00        $0.00   $0.00   $16,053.79   $16,053.79
$0.00   1   $33.65   $0.00   $16,053.79   $16,053.79
$0.00        $0.00   $0.00   $16,053.79   $16,053.79
$0.00        $0.00   $0.00   $16,002.81   $16,002.81
$0.00   1   $33.65   $0.00   $16,002.81   $16,002.81
$0.00        $0.00   $0.00   $16,002.81   $16,002.81
$0.00        $0.00   $0.00   $15,951.60   $15,951.60
$0.00   1   $33.65   $0.00   $15,951.60   $15,951.60
$0.00        $0.00   $0.00   $15,951.60   $15,951.60
$0.00        $0.00   $0.00   $15,900.15   $15,900.15
$0.00   1   $33.65   $0.00   $15,900.15   $15,900.15
$0.00        $0.00   $0.00   $15,900.15   $15,900.15
$0.00        $0.00   $0.00   $15,848.45   $15,848.45
$0.00   1   $33.65   $0.00   $15,848.45   $15,848.45
$0.00        $0.00   $0.00   $15,848.45   $15,848.45
$0.00        $0.00   $0.00   $15,796.51   $15,796.51
$0.00   1   $33.65   $0.00   $15,796.51   $15,796.51
$0.00        $0.00   $0.00   $15,796.51   $15,796.51
$0.00        $0.00   $0.00   $15,744.33   $15,744.33
$0.00   1   $33.65   $0.00   $15,744.33   $15,744.33
$0.00        $0.00   $0.00   $15,744.33   $15,744.33
$0.00        $0.00   $0.00   $15,691.90   $15,691.90
$0.00   1   $33.65      $0.00    $15,691.90   $15,691.90
$0.00        $0.00      $0.00    $15,691.90   $15,691.90
$0.00        $0.00      $0.00    $15,639.23   $15,639.23
$0.00   1   $33.65      $0.00    $15,639.23   $15,639.23
$0.00        $0.00      $0.00    $15,639.23   $15,639.23
$0.00        $0.00      $0.00    $15,586.30   $15,586.30
$0.00   1   $33.65      $0.00    $15,586.30   $15,586.30
$0.00        $0.00    $160.00    $15,586.30   $15,586.30
$0.00        $0.00   ($126.35)   $15,586.30   $15,586.30
$0.00        $0.00      $0.00    $15,533.14   $15,533.14
$0.00        $0.00    ($33.65)   $15,499.49   $15,499.49
$0.00        $0.00    $160.00    $15,499.49   $15,499.49
$0.00        $0.00   ($126.35)   $15,499.49   $15,499.49
$0.00        $0.00      $0.00    $15,445.98   $15,445.98
$0.00        $0.00    ($33.65)   $15,412.33   $15,412.33
$0.00        $0.00    $160.00    $15,412.33   $15,412.33
$0.00        $0.00   ($126.35)   $15,412.33   $15,412.33
$0.00        $0.00      $0.00    $15,358.45   $15,358.45
$0.00        $0.00    ($33.65)   $15,324.80   $15,324.80
$0.00        $0.00    $160.00    $15,324.80   $15,324.80
$0.00        $0.00   ($126.35)   $15,324.80   $15,324.80
$0.00        $0.00      $0.00    $15,270.49   $15,270.49
$0.00        $0.00    ($33.65)   $15,236.84   $15,236.84
$0.00        $0.00    $160.00    $15,236.84   $15,236.84
$0.00        $0.00   ($126.35)   $15,236.84   $15,236.84
$0.00        $0.00      $0.00    $15,182.12   $15,182.12
$0.00        $0.00    ($33.65)   $15,148.47   $15,148.47
$0.00        $0.00    $160.00    $15,148.47   $15,148.47
$0.00        $0.00   ($126.35)   $15,148.47   $15,148.47
$0.00        $0.00      $0.00    $15,093.34   $15,093.34
$0.00        $0.00    ($33.65)   $15,059.69   $15,059.69
2nd Unpaid Prin. Balance   Escrow Balance Advance Balance Running Suspense Balance    MRec Corp. Adv. Amt.   MRec Corp. Advance Bal.
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
                     $0.00           $0.00            $0.00                     $0.00                  $0.00                    $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $0.00   $0.00   $0.00
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$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
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$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $160.00   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $160.00   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $160.00   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $160.00   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $160.00   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
$0.00   $0.00   $0.00   $160.00   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00    $33.65   $0.00   $0.00
$0.00   $0.00   $0.00     $0.00   $0.00   $0.00
